                                               United States Bankruptcy Court
                                                 Northern District of Ohio
In re:                                                                                                     Case No. 19-30818-jpg
Steven T. Lake                                                                                             Chapter 7
Annette M. Lake
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0647-3                  User: admin                        Page 1 of 2                          Date Rcvd: Mar 27, 2019
                                      Form ID: 309A                      Total Noticed: 34


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 29, 2019.
db/db          +Steven T. Lake,    Annette M. Lake,    23245 W. St. Rt. 51,    Genoa, OH 43430-1042
25946431       +CMRE,   3075 E Imperial,    Suite 200,    Brea, CA 92821-6753
25946428       +Check & Go,   3109 Navarre Ave,     Oregon, OH 43616-3309
25946429      #+Check Into Cash,    2053 Woodville Rd.,    Oregon, OH 43616-3659
25946430        Check n Go Collections Dept,     PO box 18209,    Cincinnati, OH 45218-0209
25946432       +Columbus Radiology Corp,    PO Box 714563,     Cincinnati, OH 45271-4563
25946435       +First Energy Corp,    6099 Angola Rd,    Holland, OH 43528-9595
25946436        Genoa Bank,   603 Main St.,     Genoa, OH 43430-1635
25946437       +Lorin Zaner,    241 N Superior St Ste 200,     Toledo, OH 43604-1253
25946438       +Lorin Zayner,    520 Madison Ave,    Toledo, OH 43604-1302
25946439        Mercy Emergency Care Service,     POBox 740021,    Cincinnati, OH 45274-0021
25946440       +Midwest Recovery Systems,    PO Box 899,    Florissant, MO 63032-0899
25946442       +NCB Management,    P.O. Box 1099,    Longhorne, PA 19047-6099
25946441       +Nationstar Mortgage,    Mr Cooper,    8950 Cypress Waters Blvd,     Coppell, TX 75019-4620
25946444       +Ohio Attorney General,    150 East Gay Street,     21st Floor,    Columbus, OH 43215-3191
25946445       +Ottawa County Municipal Court,     1860 Perry St,    Port Clinton, OH 43452-1498
25946446       +Phoenix Financial Service,     8902 Otis Ave. STE 103A,    Indianapolis, IN 46216-1009
25946447        Receivable Management,    1814 N. Michigan,     Saginaw, MI 48605
25946449       +St Charles Mercy Hospital,     2600 Navarre Ave.,    Oregon, OH 43616-3297
25946450        The Toledo Clinic,    4235 Secor Road,    Toledo, OH 43623-4299
25946451       +UTMC,   3000 Arlington Ave,     Toledo, OH 43614-2595
25946452       +Wells Fargo,    P.O. Box 9361,    Walnut Creek, CA 94596

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: nnishiki@ohiolegalclinic.com Mar 27 2019 22:34:59       Nathan M. Nishiki,
                 316 North Michigan,    Suite 420,   Toledo, OH 43604
tr             +E-mail/Text: ddymarkowski@iq7technology.com Mar 27 2019 22:35:09        Douglas A. Dymarkowski,
                 5431 Main Street,    Sylvania, OH 43560-2155
ust            +E-mail/Text: ustpregion09.cl.ecf@usdoj.gov Mar 27 2019 22:36:09        Cynthia J. Thayer,
                 US Department of Justice,    201 Superior Avenue,    Suite 441,   Cleveland, OH 44114-1234
25946424       +EDI: CAPIO.COM Mar 28 2019 02:03:00      Assetcare LLC,    Lee Morris,    2222 Texoma Pkwy,
                 Suite 180,   Sherman, TX 75090-2484
25946425       +EDI: CAPIO.COM Mar 28 2019 02:03:00      CAPIO Partners,    2222 Texoma Pkwy Ste 150,
                 Sherman, TX 75090-2481
25946426       +E-mail/Text: cashamerica@nuvox.net Mar 27 2019 22:36:35       Cashland,    2037 Woodville Rd.,
                 Oregon, OH 43616-3630
25946427       +E-mail/Text: opsqa_usbankruptcy@cashnetusa.com Mar 27 2019 22:35:21        Cashnet,
                 P.O. Box 06230,    Chicago, IL 60606-0230
25946433       +E-mail/Text: compliance@contractcallers.com Mar 27 2019 22:38:25        Contract Callers Inc,
                 PO Box 2207,    Augusta, GA 30903-2207
25946434        EDI: RCSFNBMARIN.COM Mar 28 2019 02:03:00      Credit One Bank,    PO Box 60500,
                 City of Industry, CA 91716-0500
25946443       +E-mail/Text: bankruptcynotices@schear.net Mar 27 2019 22:37:26       NCP,
                 100 East Third St 5th Fl,    Dayton, OH 45402-2119
25946448       +EDI: PHINELEVATE Mar 28 2019 02:03:00      Rise,    4150 International Plaza,    STE 400,
                 Fort Worth, TX 76109-4819
25946453        EDI: WFFC.COM Mar 28 2019 02:03:00      WFF Cards,    CSCL Dispute Team N8235-04M,
                 Des Moines, IA 50306
                                                                                               TOTAL: 12

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 29, 2019                                             Signature: /s/Joseph Speetjens




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                              Form ID: 309A               Total Noticed: 34

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                             CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 27, 2019 at the address(es) listed below:
              Douglas A. Dymarkowski   doug.dadlaw@bex.net, ddymarkowski@iq7technology.com;tony.dadlaw@bex.net
              Nathan M. Nishiki   on behalf of Debtor Steven T. Lake nnishiki@ohiolegalclinic.com,
               rausermail@ohiolegalclinic.com;jrauser@ohiolegalclinic.com;rauserlaw@gmail.com;rauser@bestclienti
               nc.com;AuteroBR51159@notify.bestcase.com
              Nathan M. Nishiki   on behalf of Debtor Annette M. Lake nnishiki@ohiolegalclinic.com,
               rausermail@ohiolegalclinic.com;jrauser@ohiolegalclinic.com;rauserlaw@gmail.com;rauser@bestclienti
               nc.com;AuteroBR51159@notify.bestcase.com
                                                                                            TOTAL: 3




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Information to identify the case:
Debtor 1              Steven T. Lake                                                    Social Security number or ITIN        xxx−xx−8399
                      First Name    Middle Name     Last Name                           EIN _ _−_ _ _ _ _ _ _
Debtor 2              Annette M. Lake                                                   Social Security number or ITIN        xxx−xx−6364
(Spouse, if filing)
                      First Name    Middle Name     Last Name                           EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court             Northern District of Ohio
                                                                                        Date case filed for chapter 7 3/25/19
Case number:          19−30818−jpg


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                  About Debtor 1:                                    About Debtor 2:

1.      Debtor's full name                        Steven T. Lake                                     Annette M. Lake

2.      All other names used in the                                                                  aka Annette M. Webb
        last 8 years

3.     Address                                23245 W. St. Rt. 51                                    23245 W. St. Rt. 51
                                              Genoa, OH 43430                                        Genoa, OH 43430

4.     Debtor's attorney                      Nathan M. Nishiki                                     Contact phone 419−241−4900
                                              316 North Michigan
       Name and address                       Suite 420                                             Email: nnishiki@ohiolegalclinic.com
                                              Toledo, OH 43604

5.     Bankruptcy trustee                     Douglas A. Dymarkowski                                Contact phone 419−882−4999
                                              5431 Main Street
       Name and address                       Sylvania, OH 43560                                    Email: doug.dadlaw@bex.net
                                                                                                               For more information, see page 2 >
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Debtor Steven T. Lake and Annette M. Lake                                                                             Case number 19−30818−jpg


6. Bankruptcy clerk's office                    United States Bankruptcy Court                                Hours open 9:00 AM − 4:00 PM
                                                1716 Spielbusch Ave Room 411
    Documents in this case may be filed at this Toledo, OH 43604                                              Contact phone 419−213−5600
    address. You may inspect all records filed
    in this case at this office or online at
    www.pacer.gov.                                                                                            Date: 3/27/19
    www.ohnb.uscourts.gov.


7. Meeting of creditors                           May 22, 2019 at 10:00 AM                                    Location:

    Debtors must attend the meeting to be         The meeting may be continued or adjourned to a              Ohio Building, 420 Madison Ave,
    questioned under oath. In a joint case,       later date. If so, the date will be on the court            Room 680, Toledo, OH 43604
    both spouses must attend. Creditors may
    attend, but are not required to do so.        docket.

                                                          *** Valid photo identification required ***
                                                      *** Proof of Social Security Number required ***


8. Presumption of abuse                           The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                 Filing deadline: 7/22/19
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                  You must file a complaint:
                                                  • if you assert that the debtor is not entitled to
                                                    receive a discharge of any debts under any of the
                                                    subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                    or

                                                  • if you want to have a debt excepted from discharge
                                                    under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:
                                                  • if you assert that the discharge should be denied
                                                    under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                  The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                  exempt. If you believe that the law does not authorize an
                                                  exemption claimed, you may file an objection.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a
                                                  proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless    will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                  not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                  exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                  www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                  debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                  objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                            page 2




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